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                            IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE
---------------------------------○
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
PERNIX SLEEP, INC., et al.,                                       : Case No. 19-10323 (CSS)
                                                                  :
                               Debtors.                           : NOTICE OF APPOINTMENT OF
                                                                  : COMMITTEE OF UNSECURED
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ○ CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following
persons to the Committee of Unsecured Creditors in connection with the above captioned case:

               1. Telemetry Securities LLC, Attn: Dan Sommers, 545 Fifth Avenue, Suite
               1108, New York, NY 10017, Phone: (917) 305-1754

               2. 683 Capital Partners, LP, Attn: Mimi Liu, 3 Columbus Circle, Suite 2205
               New York, NY 10019, Phone: (212) 554-2389

               3. Medicine to Go Pharmacies, Inc., and certified class, Attn: Andrew
               Thomasson, Esq., 150 Morris Ave., 2nd Floor, Springfield, NJ 07081-1315,
               Phone: (973) 665-2056, Fax: (973) 532-5868

               4. Chad Myers and Jeffrey Hartzler, on behalf of themselves and others
               similarly situated in Adv. No. 19-50107, Attn: Mary E. Olsen, Esq., 182 St.
               Francis St., Suite 103, Mobile, AL 36602, Phone: (251) 415-4978, Fax: (251)
               433-8181

               5. Walgreen Co., Attn: Darin V. Osmond, 104 Wilmont Road, 4th Floor, MS
               #144P, Deerfield, IL 60016, Phone: (847) 315-4692



                                               ANDREW R. VARA
                                               Acting United States Trustee, Region 3


                                               /s/ Benjamin Hackman for
                                               T. PATRICK TINKER
                                               ASSISTANT UNITED STATES TRUSTEE

DATED: March 1, 2019
Attorney assigned to this Case: Benjamin Hackman, Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Proposed Counsel: Kerri Mumford, Phone: (302) 467-4400, Fax: (302) 467-4450
